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NOT F()R PUBLICATION

UNITED STATES DISTRICT COURT
DISTRICT GF NEW' JERSEY

 

PETER W. EMMET,

Piamtiff,
Civii Acti@n NO. 14-8014 (MAs) (DEA)
V.
MEMORANDUM oPINIoN
roM DEL FRANCO, et ai.,

Det`endants.

 

 

SHIPP: District Judge

This matter comes before the Court on two motions Defendants Tom Del Franeo and
Organic Ameriea Farms of Amherst, Massachusetts, LLC, improperly pled as Organic America
Farms ot`Amherst, LLC, (collectively, “Defaulting Defendants”) move to vacate and set aside the
entry of default entered against them pursuant to Rule 55(0) of the Federal Rules of Civil
Procedure. (ECF No. l7.) Additionally, Defendants John Osendorf, Nicholas Del Franco
(“Nicholas”), Martin Karo (“Karo”) (collectively with Tom Del Franco, “Individual Defendants”);
Organic America, Organic America Supply, Organic America Farms, LLC, Hydroponics House,
improperly pled as Hydroponics House5 LLC, Organie Ameriea Holdings, LLC, Organie America
Wholesale, LLC, Organie America of Fort Myers, LLC, The Homestead Greenhouse Leasing
Company, LLC, NDF Enterprises, D&G Green Enterprises, LLC, Mad Hatter Nutrients and Soils,
Homestead Hydro (colleetively with Organie America Farms of Amherst, Massachusetts, LLC,
“Corporate Defendants”); and Defaulting Defendants move to dismiss Plaintiff Peter W. Emmet’s
(“Plamtift”) Complaint on several grounds, including lack of personal jurisdiction, improper

venue, and failure to state a claim upon Whieli relief may be granted (ECF No. l6.) ln the

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alternative, Defendants seek to transfer venue to Michigan. (Id.) The Court has carefully
considered the parties’ submissions and decides the matter without oral argument pursuant to Local
Civil Rule 78.1. For the reasons stated below, Defaulting Defendants’ motion to vacate is granted
and Defendants’ alternative request to transfer venue is granted
I. Background

This matter involves allegations of fraud stemming from an alleged breach of contract
dispute regarding Plaintiff’s investment in Defendants’ marijuana growing and selling business
Plaintiff alleges that on or about August 6, 2013, he and Nicholas entered into two written
agreements that conferred fifty percent ownership in Hydroponics House, d/b/a Organic America
of Detroit (“Hydroponic Agreement”), and Greenhouse Leasing Cornpany, LLC (“Greenhouse
Agreement”) to Plaintiff in exchange for his investment of $lZS,OOO and $500,()00, respectively
(Compl. M 53, 60-63, 72, 76, ECF No. l.) Plaintiff transferred the requisite funds on August 8,
2013, and October l, 2013, respectively ([d. W 63, 8().) Plaintiff claims that the Hydroponic
Agreement was negotiated by and between Defendants and Plaintiff in New Jersey and
l\/lassachusetts and executed by himself and Nicholas in Massachusetts. ([d. M 54-56.) Plaintiff
further asserts that the Greenhouse Agreement was negotiated and executed by both Plaintiff and
Nicholas in Amherst, Massachusetts. (Id. im 73~75.)

ln addition, to support his assertion of personal jurisdiction over Defendants, Plaintiff
asserts that: (l) Defendants, on more than one occasion, reached out to Plaintiff to get him to invest
in their business while he was in New Jersey; (2) Defendants made numerous fraudulent statements
and misrepresentations to Plaintiff while he was in New Jersey; (3) Nicholas met with Plaintiff in
New Jersey, on behalf of all of the Defendants, on multiple occasions; (4) Plaintiff received

numerous telephone calls seeking his investment while he was in New Jersey; (5) the promissory

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note that Karo drafted was executed by Plaintiff in New Jersey; and (6) the money for Plaintift`s
investment was wired from a l\lew Jersey financial institution (Certification of Peter Emmet (“Pl.
Cert.”) ilil l~l(), ECF No. 23.)

l\licholas, however, asserts that neither he nor any of the other Defendants conduct
business, have assets, offices, factories, greenhouses, or stores located in, solicit business of any
kind, sell or deliver products, or have agents in New Jersey. (Certification ofl\licholas Del Franco
(“N. Del Franco Cert.”) ilil 5-15, ECF No. l6-2.) Further, Nicholas asserts that it was, in fact,
Plaintiff that contacted him in July 20l3, expressing his interest in investing in Defendants’
business and that Plaintiff traveled to Massachusetts to discuss his proposal (]d. ilil l7-18.)

The parties in this action are citizens of the states of New lersey, l\/lichigan, Colorado,
Pennsylvania, Florida, and l\/lassachusetts. Specifically, Plaintiff is a New lersey resident. (Compl.
il l.) Tom Del Franco is a resident of Bloomfield, Michigan. (Id. il 2.) Nicholas resides in Castle
Rock, Colorado. (Id. il 3.) John Osendorf resides in Lone Tree, Colorado. (Id. il 4.) Karo, an
attorney-at-law, resides in Yardley, Pennsylvania where he is licensed to practice law. ([d. ilil 5-
6.) Organic America, The Homestead Greenhouse Leasing Company, LLC, and NDF Enterprises
have principal places of business located in Redford, Michigan. (Id. ilil 7, 14~15.) Organic America
Supply, Organic America Farms, LLC, Hydroponics House, Organic America Holdings, LLC, and
Organic America Wholesale, LLC have principal places of business located in Royal Oak,
l\/lichigan. ([d. ilil S-lZ.) C)rganic Arnerica of Fort Myers, LLC and D&G Green Enterprises, LLC
have their principal place of business in Florida. ([d. ilil 13, 16.) l\/lad Hatter Nutrients and Soils
and Homestead Hydro have their principal place of business located in Colorado. (Id. ili l7~l8.)
Organic America Farms of Amherst is a limited liability company with its principal place of

business located in Amherst, Massachusetts. (Iu’. il 19.)

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Plaintiff brings fifteen counts against Defendants: (l) fraud; (2) violation of § lOb of the
1934 Act; (3) R.I.C.O. - l8 U.S.C. § l%Z; (4) breach of fiduciary duty by individual defendants;
(5) violation of N.J.S.A. l4a:l2-7; (6) violation of uniform fraudulent transfer act; (7) negligent
misrepresentation; (8) breach of contract; (9) conversion; (l ()) unjust enrichment;
(l l) misappropriation; (12) contract rescission; (l3) intentional interference with contractual
relationship; (14) intentional interference with prospective economic advantage; and (15) demand
for an equitable accounting (Compl. 12-28.)

On luly 2, 2015, the Court granted Plaintiff’s motion for default, pursuant to Rule 55(a) of
the Federal Rules of Civil Procedure, against Def`aulting Defendants (ECF No. ll.) ln response,
Defaulting Defendants filed a motion to vacate the entry of default on August l3, 2015. (ECF No.
l7.) On the same date, Defendants collectively filed a motion to dismiss Plaintiff` s Complaint.
(ECF NO. i6.)

II. Motion To Vacate Default

A. Legal Standard

Rule 55 of the Federal Rules of Civil Procedure governs both motions to enter default
judgment, as well as, motions to vacate an entry of default. See Fed. R. Civ. P. 55(a), (c). Rule
55(c) provides that “[t]he court may set aside an entry of default for good cause.” Fed. R. Civ. P.
55(c). The decision to vacate an entry of default is left to the sound discretion of the district court.
When evaluating motions to vacate default, the court should weigh three factors: (l) “lwlhether
the plaintiff will be prejudiced” if the default is lifted; (2) “lwlhether the defendant has a
meritorious defense”; and (3) “lwlhether culpable conduct of the defendant led to the default.”
Fez'z`ciano v. Relianr Toolz'ng Co., 691 F.Zd 653, 656 (3d Cir. 1982); see United Stares v. $55,518.05

in U.S. Currerzcy, 728 F.Zd 192, 194-95 (3d Cir. 1984). “T`here is a distinction between a default

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standing alone and a default judgment . . . Less substantial grounds may be adequate for setting
aside a default than would be required for opening a judginent.” Fclicz'arze, 69l F.2d at 656. The
Tliird Circuit has further established that when there is a close call, the motion “should be resolved
in favor of setting aside the default and reaching a decision on the merits.” Gross v. Srcreo
Comporienf Sys,, [rzc., 700 F.Zd l20, l22 (3d Cir. 1983) (cz`tz`izg Fczmese v. Bagnasc@, 687 F.2d
761, 764 (3d Cir. l982)); see also Li'w`ngston Powu’eredil/[eral, lite v. N.L.R.B., 669 F.2d 133, l36-
37 (3d Cir. l982) (“matters involving large sums should not be determined by default judgment if
it can reasonably be avoided, since the interests of j ustice are best served by a trial on the merits”).

B. Analysis

The Court finds that Defaulting Defendants have made a sufficient showing to vacate
default Defaulting Defendants argue that default should be lifted because: (l) Plaintiff will not be
prejudiced because Defaulting Defendants’ delay in filing a responsive pleading was minimal and
there is a minimal risk of losing evidence as this matter is still in its early stages; (2) Defaulting
Defendants have meritorious defenses, such as a lack of personal jurisdiction, improperly plead
claims, and improper venue; and (3) there was no culpable conduct on the part of Defaulting
Defendants because they were actively engaged in settlement negotiations, even after the
Complaint was filed, and then actively seeking new counsel to represent them in this matter.
(Defs.’ Moving Default Br. 10-l l, 24-26, ECF No. l7-l.)

Plaintiff argues that if Defaulting Defendants’ motion is granted, he will suffer prejudice
because he has already spent a large “amount of time and money chasing these Defendants” and
he will be unable to “quantify the amount of relevant evidence that has been lost” the longer this
action persists. (Pl.’s Opp’n Default Br. 8, ECF No. 21.) Determining whether a plaintiff will be

prejudiced by lifting a default, according to the Third Circuit, requires a showing of such things as

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“loss of available evidence,” “increased potential for fraud or collusion,” or substantial reliance on
the default Felz`ci'ano, 69l F.Zd at 657. Further, the Couit in Fc[z`cz'ano explained that “ldlelay in
realizing satisfaction on a claim rarely serves to establish the degree of` prejudice sufficient to
prevent the opening of a default judgment entered at an early state of the proceeding.” Id. at 656-
57. Here, Plaintiff has not suggested that the lifting of default will hinder his ability to pursue any
claim against Defaulting Defendants Additionally, given Defendants’ retention of new counsel
just two days prior to the entry of default, as well as, Defendants’ subsequent motion to dismiss
filed in response to Plaintiff’s Complaint, there is little to support a claim of prejudice justifying
denial of Defaulting Defendants’ motion pursuant to Rule 55(c). This factor weighs in favor of
Defaulting Defendants

As to Defaulting Defendants’ asserted meritorious defenses, Plaintiff contends that
“Defendants failed to raise any meritorious defenses to Counts IV, Vll, X, Xl, Xll and XV”
(Pl.’s Opp’n Default Br. 6); however, Defaulting Defendants have asserted defenses to the
remaining claims through their motion to dismiss (Defs.’ l\/loving Dismissal Br. 4-17,
ECF No. l6-l). Further, Defaulting Defendants, in their motion to dismiss, argue that the Court
lacks personal jurisdiction and that venue is improper (Id. at 18~26.) Assertion “of a meritorious
defense is accomplished when allegations of defendant’s answer, if established on trial, would
constitute a complete defense to the action.” $55,518. 05 in U.S. Cw"rency, 728 F.2d at 195 (internal
quotation marks omitted).

Here, the Court is satisfied that Defaulting Defendants have made a sufficient showing of
a meritorious defense to Plaintiff`s claims through their motion to dismiss First, Defendants’
motion to dismiss asserts a lack of personal jurisdiction as grounds for dismissal arguing that

jurisdiction is improper with regards to all defendants including Defaulting Defendants (Defs.’

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i\/’loving Dismissal Br. 18-25.) Additionally, Defaulting Defendants assert that a number of
Plaintiff`s claims should be dismissed, pursuant to Rule 12(b)(6) and 9(b), for failing to sufficiently
plead the necessary factual assertions to substantiate the various elements of the asserted claims
(Id. 4»17.) At this stage, the Court is by no means finding that Defaulting Defendants will prevail
on these defenses, however, as discussed below, the Court’s decision to grant Defendants’ motion
to transfer is predicated on the Court’s lack of personal jurisdiction over most, if not all, of the
Defendants The Court finds that Defaulting Defendants have made a sufficient showing that this
factor weighs in favor of them and further justifies vacating the entry ofdefault.

Finally, Plaintiff contends that Defendants’ “actions to date are not those of ‘excusable
neglect,’ but rather a calculated pattern of delay and obhiscation.” (Pl.’s Opp’n Default Br. 7.)
Plaintiff argues that the record is evidence of Defaulting Defendants’ “attempt to avoid service
and delay the start of`these proceedings.” ([d.) However, despite Defaulting Defendants’ failure to
file a timely pleading in response to Plaintiff` s Complaint, which ultimately led to the entry of
default, Defaulting Defendants’ subsequent communications with the Court, through their new
counsel, have been timely “ln this context culpable conduct means actions taken willfully or in
bad faith.” Gross, 700 F.2d at 123-24 (citing Felicz`ano, 691 F.Zd at 657). Further, courts have
determined that a defendant’s willingness to engage in settlement discussions, as Defaulting
Defendants have asserted here, does not support a finding of bad faith or disregard for one’s
responsibilities so as to assign culpability (Defs.’ Moving Default Br. 10-1 1); see Centw;v 21 Real
Esrate LLC v. Kennet/i M. Yanm', [nc., No. 07-6078, 2009 WL 904122, at *3 (D.N.J. Mar. 31,
2009); see also Replicali`orz Med., [nc. v. Aureus Med. GAIBH, No. 15-1685, 2015 WL 4111650,
at *5 (D.N.J. July S, 2015). Although the Court does not find Defaulting Defendants’ failure to file

a responsive pleading within the twenty-one day period to constitute willful conduct, the Court

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cautions Defaulting Defendants that in the future they should take reasonable steps to secure an
extension either through consent from their adversary or the Court. Therefore, because Defaulting
Defendants’ conduct was not culpable, the third factor weighs in favor of vacating the entry of
default

Accordingly, the Court will grant Defaulting Defendants’ motions to vacate the entry of
defaultl
III. Motion to Transfer Venue2

A. Legal Standard

A federal district court may transfer a civil action to a different venue under 28 U.S.C.
§§ 1404(a) or 1406(a).3 Section 1404(a) provides “lflor the convenience of parties and witnesses,
in the interest ofjustice, a district court may transfer any civil action to any other district or division
where it might have been brought or to any district or division to which all parties have consented.”

28 U.S.C. § 1404(a). Section 1406(a) provides “ltlhe district court of a district in which is filed a

 

l Although Defaulting Defendants have failed to supply the Court with a brief in support of their
motion to vacate the entry of default in compliance with Local Civil Rule 7.2, the Court will excuse
Defaulting Defendants’ failure to comply However, the Court cautions Defaulting Defendants to
abide by all Local Rules in the future.

2 Whether the Court may assert personal jurisdiction over Nicliolas and Karo is very fact
determinative and may warrant a factual hearing, however, Plaintiff has failed to provide the Court
with sufficient support for asserting personal jurisdiction as to the remaining Defendants
Therefore, instead of conducting a personal jurisdiction analysis and possible evidentiary hearing
to handle the factual disputes, the Court will address Defendants’ alternate request to transfer this
action to Michigan where all of the Defendants have consented to both jurisdiction and venue.
(Def.’s Moving Dismissal Br. 26.) See Go[dlawr, [nc. v. Heiman, 369 U.S. 463 (1962); see also
Um'i‘ed Srares v. Berkowirz, 328 F.Zd 358 (3d Cir. 1964) (explaining that § 1404(a) is broad enough
to allow for transfers even in the absence of personal jurisdiction).

3 “Because of the similarity between 1404(a) and 1406(a), courts have often treated the sections
the same, or have transferred pursuant to both sections.” McTyre v. Browara' Gen. Med. Ctr., 749
F. Supp. 102, 105 n.2 (D.N.J. 1990) (citing Dubz`n v. Um'red Srares, 380 F.2d 813 (5th Cir. 1967)).

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case laying venue in the wrong division or district shall dismiss or if it be in the interest ofjustice,
transfer such case to any district or division in which it could have been brought.” 28 U.S.C.
§ 1406(a). The Third Circuit has explained that “Section 1404(a) provides for the transfer of a case
where both the original and requested venue are proper. Section 1406, on the other hand, applies
where the original venue is improper and provides for either transfer or dismissal of the
case." Jumara v. Srczte Fczrm Ins. Co., 55 F.3d 873, 878 (3d Cir. 1995). Further, the Third Circuit
has determined that, even in the absence of personal jurisdiction over a defendant, a court may
transfer a case pursuant to § 1404(a). Unz'!ed Stares v. Berkowz`rz, 328 F.2d 358, 361 (3d Cir. 1964)
(citing Goldlczwr, [iic,, 369 U.S. at 466~67).

When deciding a motion to transfer venue under § 1404(a), a district court should
remember that “the plaintiffs choice of venue should not be lightly disturbed.” Jumara, 55 F.3d
at 878~79. ln conducting its evaluation, the Court must balance various private and public interests
related to the transfer. [d. The private interest factors include:

(1) plaintiffs forum preference as manifested in the original choice, (2) the

defendant’s preference, (3) whether the claim arose elsewhere, (4) the convenience

of the parties as indicated by their relative physical and financial condition, (5) the

convenience of the witnesses~but only to the extent that the witnesses may actually

be unavailable for trial in one of the fora, and (6) the location of books and records

(similarly limited to the extent that the files could not be produced in the alternative
forum) . . . .

[d. (internal citations omitted). The public interest factors include:

(1) the enforceability of the judgment; (2) practical considerations that could make
the trial easy, expeditious or inexpensive; (3) the relative administrative difficulty
in the two fora resulting from court congestion; (4) the local interest in deciding
local controversies at home; (5) the public policies of the fora; and (6) the
familiarity of the trial judge with the applicable state law in diversity cases

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Id. at 879~80 (internal citations omitted). “lTlhe burden is on the moving party to show the
proposed alternate forum is not only adequate but also more convenient than the present f`orum.”
Rz'cr)fz CO. v. H()neyweli, Inc.i 817 F. Supp. 473g 480 (D.N.J. 1993).

B. Analysis

The Court finds that Defendants have made a sufficient showing to warrant transferring
this action pursuant to § 1404(a).74 Defendants argue that this action should be transferred to
l\/lichigan,5 because: (l) this Court lacks personal jurisdiction over each of the Defendants; and
(2) Defendants consent to both jurisdiction and venue in l\/Iichigan. (Def.’s Moving Dismissal Br.
18-26.) Defendants’ arguments regarding personal jurisdiction raise serious concerns about this
Court’s ability to assert jurisdiction over all of the Defendants in this case. While the Court
recognizes that it may potentially have personal jurisdiction with respect to Nicholas and Karo,
the Court appears to lack personal jurisdiction as to a majority of the Defendants6

Plaintiff has made no argument with regard to Defendants’ contention that venue is

improper or as to Defendants’ alternative request to transfer this case to Michigan. lnstead,

 

4 Although Defendants have moved to transfer venue pursuant to § 1406(a), the Court is inclined
to transfer this case pursuant to § l404(a) because venue may in fact be proper and the Court may
have personal jurisdiction as to Nicholas and Karo, making § 1406(a) inapplicable ln any case, in
the event that the Court does not have personal jurisdiction or proper venue as to Nicholas and
Karo, the Court would nonetheless transfer this matter pursuant to § l406(a).

5 Defendants do not state a specific district in Michigan, however, the Eastern District of l\/lichigan
is the proper transferee district because Nicholas resides within that district and the Corporate
Defendants located in Michigan have their principal places of business there.

6 The Court appears to lack personal jurisdiction over most, if not all, of the Defendants because
none of the Defendants are New Jersey citizens, Defendants do not have the requisite minimum
contacts with New Jersey, such as conducting business herein, and Defendants have not
“purposefully availledl lthemselvesl of the privilege of conducting activities within lNew Jerseyl,
thus invoking the benefits and protections of its laws.” Hanson v. Derickla, 357 U.S. 235, 253
(1958). Furthermore, Plaintiff has failed to supply sufficient facts from which the Court could
make its jurisdictional determination as to most of the Defendants

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Plaintiff merely argues that this Court has personal jurisdiction over all Defendants (Pl.’s Opp’n
Dismissal Br. ll-18.)

Here, the Court finds that the factors the Third Circuit established in Jumura weigh in favor
of transferring this matter to Michigan. Although Plaintiff selected the District ofNew Jersey as
his choice of venue, the remaining factors outweigh this consideration Defendants have consented
to both jurisdiction and venue in l\/lichigan, the claims arose out of a contract dispute stemming
from contracts that were negotiated, formed, signed and executed in Massachusetts, and a majority
ofthe Corporate Defendants have their principal places ofbusiness in Michigan, where their books
and records would likely be located. (Def.’s Moving Dismissal Br. l7-26.) Also, Defendants’
witnesses are located in Michigan and Massechusetts. (N. Del Franco Cert. il 22.) Therefore, the
Court finds that the private interest factors established in Jumara weigh in favor of Defendants

The public interest factors set forth in Jumam also weigh in favor of transferring this matter
to l\/lichigan. Plaintiff has not contested any of Defendants’ arguments regarding the propriety of
a venue transfer to Michigan. ln addition, Defendants have stated that “l\/lichigan . . . is the district
where lthis matterl should have been brought.” (Pl.’s Opp’n Dismissal Br. 11-18; Def.’s Moving
Dismissal Br. 26.) Also, keeping this matter in the District of New Jersey could make trial more
difficult and costly because Defendants’ witnesses are out-of-state residents (N. Del Franco Cert.
il 22.) Further, due to the Court’s likely lack of personal jurisdiction as to most Defendants and in
the interest of justice and practicality, the Court finds good cause to transfer this matter to Michigan
where Plaintiff’ s claims can be considered on the merits Thus, Jumam’s public interest factors
also weigh in favor of Defendants’ l\/lotion to Transfer.

Although Plaintiff` s choice of forum is afforded deference when addressing a motion to

transfer venue under § l404(a), this Court finds no reason for this action to continue in the District

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of New J ersey because Defendants have consented to both jurisdiction and venue in Michigan and
the public and private interest factors established in Jimiara outweigh Plaintiff`s choice of forum
and weigh in favor of transferring this matter.

Accordingly, the Court will grant Defendants’ motion to transfer venue and transfer this
matter to the District Court for the Eastern District of l\/lichigan.
IV. Conclusion

For the reasons set forth above, Defaulting Defendants’ motion to vacate the entry of
default is granted and Defendants’ alternative motion to transfer is granted An order consistent

with this Memorandum Opinion will be entered.

s/ l\/Iichael A. Shipp
MICHAEL A. SHIPP
UNITEI) STATES DISTRICT JUDGE

Dated: l\/larch 3_1, 2016

